|.
garden tractor that he
the mower as directed

injuries to his eyes. |

JOSHUA THORSEN,
Plaintiff,

V

WDJ JANS CORPORATION,

Defendants.

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|
|

 

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT
_ OF TEXAS AUSTIN DIVISION

Civil Action No.

 

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PLAINTIFF’S COMPLAINT
PLAINTIFF’S COMPLAINT

Plaintiff JOSHUA THORSEN files this lawsuit against WDJ JANS CORPORATION

 

and would show the

On May 28. Z

ourt and Jury the following in support thereof:

20, Plaintiff Thorsen received a Husqvarna ts354xd (54) 24hp Kawasaki
ordered online from Defendant through Amazon. As he was assembling
, acid from the battery shot in his left and right eye causing severe pain and

‘he product was clearly defective as acid was leaking from the product and

was a danger to anyone who came into contact with it.

 

I. PARTIES

2. Plaintiff, JOSHUA THORSEN is a citizen of Texas.

3.

Defendant, Jans WDJ Corporation, is an lowa Company. It can be served by serving

process upon corporate officer and registered agent Wyatt M. Jans at 10095 Hickman Court, Unit

l

4.

, Clive lowa 40325. Preparation of citation and process of service is requested.

Il. JURISDICTION AND VENUE

This case is brought pursuant to 28 U.S.C. § 1332(a) in that there is total diversity of the

 

parties. This Court has federal question subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

 

 
5. Venue of this

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cause is proper in the Western District pursuant to 28 U.S.C. §1391(b)

because a substantial portion of the events or omissions giving rise to Plaintiffs’ claims occurred

in Bastrop, Texas, which is within the Western District of Texas.

lll. FACTS

6. On May 28, 2020, Plaintiff Thorsen received a Husqvarna ts354xd (54) 24hp Kawasaki

garden tractor that he
the mower as directed,
injuries to his eyes.

7. The product we

ordered online from Defendant through Amazon. As he was assembling

acid from the battery shot in his left and right eye causing severe pain and

iS clearly defective as acid was leaking from the product and was a danger

to anyone who came into contact with it.

8. Defendant had

IV. NEGLIGENCE

a duty to make sure the product in questions was not a danger to plaintiff,

defendant breached that duty.

V. FRAUD

9, Defendant promised plaintiff that it would deliver the product in good working order.

Plaintiff relied on those assertions in his decision to do business with defendant.

10. Plaintiff relied

on the representations to his damage as Defendant did not keep its

promised but rather gaive plaintiff a dangerous product which led to acid in his eye.

11. Defendant and

VI. BREACH OF CONTRACT

Plaintiff had a contract whereby plaintiff paid the agreed upon price and in

return Defendant was supposed to deliver a certain product. Defendant breached this duty to the

damage of the plaintiff. All conditions precedent has been performed.

 

 
12.

to suffer injuries to hi:

nature.

As a result of t

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Vil. DAMAGES
he occurrence made the basis of this cause of action, Plaintiff was caused

s eye.| Some of such injuries are, in reasonable probability, permanent in

13. Plaintiff has been physically impaired in the past, and will, in reasonable probability, be

physically impaired in
14.
the past, and will, inr
15.
probability, continue t

16.

the future.

* ° | 2 o =
Plaintiff was caused to incur reasonable and necessary medical treatment and expenses in

 

sonable probability, continue to incur such expenses in the future.

l
Plaintiff suffered physical pain and mental anguish in the past, and will, in reasonable

D suffer physical pain and mental anguish in the future.

Based upon the injuries and damages sustained by Plaintiff, as well as his knowledge of

the continuing effect of those injuries to date, Plaintiff seeks damages in excess of the minimum

jurisdictional limits of

WHEREFORE

this Court.
Vill, PRAYER

A PREMISES CONSIDERED Plaintiff requests that the Defendant be

cited to appear and answer herein, and that upon final hearing hereon, Plaintiffs have and

recover:

a. Judgment against Defendant for all damages in an amount in excess of the

minimum jurisdictional limits of the Court;

b. Prejudgment and post-judgment interest at the legal rate;

c. Costs 0:
d. Attorney’s fees;

e. Any an

f suit;

id all other relief to which Plaintiff may show himself to be justly entitled.

 

 
 

 

 

 

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Respectfully submitted,

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Texas Board of Legal Specialization
Attorney for Plaintiff

 

 
